Case 2:11-cr-20178-SJM-RSW ECF No. 39, PageID.76 Filed 07/19/11 Page 1 of 1


                    UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


                                            NO. 11-20178-1
                                            HON.PATRICK J. DUGGAN
UNITED STATES OF AMERICA,

                  Plaintiff(s),

vs.

JERON GASKIN,

                  Defendant(s).
                                       /

                ORDER GRANTING MOTION TO WITHDRAW
                 AND TO APPOINT NEW COUNSEL

                  At a session of said Court, held in the U.S.
                  District Courthouse, City of Detroit, County
                  of Wayne, State of Michigan on July 19, 2011.


      This matter is before the Court on Oral Motion to Withdraw as counsel for

defendant by Kimberly Stout and to appoint new counsel for defendant; therefore;

      IT IS ORDERED that the Motion to Withdraw as counsel defendant and to

appoint new counsel for Defendant be and the same is hereby GRANTED.



                          s/Patrick J. Duggan
                          Patrick J. Duggan
                          United States District Judge

Dated: July 19, 2011

I hereby certify that a copy of the foregoing document was served upon counsel of
record on July 19, 2011, by electronic and/or ordinary mail.
                           s/Marilyn Orem
                           Case Manager
